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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                              CASE NO. 07cr2016-IEG
 12                                        Plaintiff,         Order Granting motion for Leave to
              vs.                                             Manually File Exhibit [Doc. No. 410];
 13                                                           Granting Application to Extend
       DOLORES LOVIN (5); MARY                                Production Dates [Doc. No. 406]
 14    ARONSON (6); PHILIP JAMES BIDWELL
       (12); JEFFREY A. LIGHT (14); TRACY
 15    O’NEAL TYLER (15); PETER P.
       BRAGANSA (16),
 16
                                        Defendants.
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 18
             Upon application, for good cause shown, the Court GRANTS Defendant Tracy O’Neal
 19
      Tyler’s motion to manually file an exhibit to his motion to dismiss, and GRANTS the
 20
      government’s motion to extend dates for production of summaries or spreadsheets.
 21
             IT IS SO ORDERED.
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      DATED: January 14, 2009
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 25                                                 IRMA E. GONZALEZ, Chief Judge
                                                    United States District Court
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